

PER CUR.

"The Court is of opinion that the judgments aforesaid are erroneous in this, that the bond on which this suit is brought, as set forth in the proceedings, is void in law, the same having been taken and entered into contrary to the directions and provisions of a British statute made in the fifth and sixth years of the reign of King Edward the sixth, against buying and selling offices,† which statute was in force in this State at the time the said bond was made. Therefore, it is considered that the judgments be reversed, &amp;c.”‡

[† Ch. 16. And see 49 Geo. 3, ch. 126.]


[‡ See Hoge v. Trigg, 4 Munf. 150, and Harrington v. Kloprogge, 2 Chitty’s R. 475, note (a.)]

